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  9                        UNITED STATES DISTRICT COURT
 10                       CENTRAL DISTRICT OF CALIFORNIA
 11                                WESTERN DIVISION
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 13   NEUROBRANDS, LLC,                        CASE NO.: 2:20-cv-3612-FMO-KS
 14             Plaintiff/Counter-Defendant,
                                               ORDER GRANTING
 15        v.                                  STIPULATION OF DISMISSAL
                                               WITH PREJUDICE
 16   NEUROGUM, INC.,
 17             Defendant/Counter-Plaintiff.   Honorable Fernando M. Olguin
                                               Magistrate Judge Karen L. Stevenson
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                        ORDER GRANTING STIPULATION OF DISMISSAL
                              CASE NO.: 2:20-cv-3612-FMO-KS
Case 2:20-cv-03612-FMO-KS Document 51 Filed 11/16/21 Page 2 of 2 Page ID #:282



  1                                            ORDER
  2            Pursuant to the stipulation of all Parties, the Court hereby orders that the
  3   above-captioned action is dismissed in its entirety with prejudice and without
  4   costs.
  5

  6            IT IS SO ORDERED.
  7
                                                        /s/
  8   Dated: November 16, 2021
  9
                                         Honorable Fernando M. Olguin
                                         United States District Judge
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                           ORDER GRANTING STIPULATION OF DISMISSAL
                                 CASE NO.: 2:20-cv-3612-FMO-KS
